Case 3:03-cr-03068-MWB-KEM   Document 586   Filed 05/15/06   Page 1 of 6
Case 3:03-cr-03068-MWB-KEM   Document 586   Filed 05/15/06   Page 2 of 6
Case 3:03-cr-03068-MWB-KEM   Document 586   Filed 05/15/06   Page 3 of 6
Case 3:03-cr-03068-MWB-KEM   Document 586   Filed 05/15/06   Page 4 of 6
Case 3:03-cr-03068-MWB-KEM   Document 586   Filed 05/15/06   Page 5 of 6
Case 3:03-cr-03068-MWB-KEM   Document 586   Filed 05/15/06   Page 6 of 6
